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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

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-
SPARTA    INSURANCE COMPANY                   :
(as successor in interest to Sparta Insurance
Holdings, Inc.),                              :

                      Plaintiff,               :     Civil Action
                                                     No. 21-11205-FDS
       v.                                      :

PENNSYLVANIA GENERAL INSURANCE :
COMPANY (now known as Pennsylvania
Insurance Company),                :

                Defendant.       :
---------------------------------x
-
         TRANSMITTAL DECLARATION OF CHRISTOPHER G. CLARK
    IN SUPPORT OF PLAINTIFF SPARTA INSURANCE COMPANY'S MOTION
  TO COMPEL THE DEPOSITION OF DEFENDANT PENNSYLVANIA GENERAL
   INSURANCE COMPANY'S OFFICER AND DIRECTOR STEVEN M. MENZIES

               I, CHRISTOPHER G. CLARK, pursuant to 28 U.S.C. § 1746, hereby declare as

follows:

               1.     I am a member of the Bar of the Commonwealth of Massachusetts,

admitted to practice before this Court, and am an attorney with the law firm Skadden, Arps,

Slate, Meagher & Flom LLP, counsel for Plaintiff SPARTA Insurance Company ("SPARTA") in

the above-captioned action.

               2.     I respectfully submit this declaration in support of SPARTA's Motion To

Compel The Deposition Of Defendant Pennsylvania General Insurance Company's Officer And

Director Steven M. Menzies, and to provide the Court true and correct copies of the following

documents:
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    Exhibit                                     Document
      1.    Notice of Deposition of Steven M. Menzies dated April 3, 2023
      2.    Notice of Deposition of Steven M. Menzies dated September 1, 2023
      3.    Defendant PGIC's Initial Disclosures dated October 14, 2022
            2012 Stock Purchase Agreement by and between North American Casualty Co. and
      4.
            OneBeacon Insurance Group LLC (excerpt)1
            Disclosure Schedule to the 2012 Stock Purchase Agreement by and between North
      5.
            American Casualty Co. and OneBeacon Insurance Group LLC (excerpt)
            Compendium of PGIC Annual and Quarterly Statements filed for the time periods
      6.
            2012 to 2023 (excerpts)
      7.    Deposition Transcript of Defendant PGIC taken October 25-26, 2023 (excerpt)
      8.    September 1-4, 2023 email chain between counsel for the parties
      9.    September 8-11, 2023 email chain between counsel for the parties
      10.   December 13, 2023 email between counsel for the parties

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on December 20, 2023, in Boston, Massachusetts.

                                                       /s/ Christopher G. Clark         f
                                                       Christopher G. Clark (BBO #663455)
                                                       SKADDEN, ARPS, SLATE,
                                                           MEAGHER & FLOM LLP
                                                       500 Boylston Street
                                                       Boston, Massachusetts 02116
                                                       (617) 573-4800
                                                       christopher.clark@skadden.com

                                                       Counsel for Plaintiff
                                                       SPARTA Insurance Company




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       SPARTA is filing herewith excerpts of certain documents that include only the portions
relevant to the resolution of the current motion. SPARTA is doing so to reduce the burden on
the Court associated with reviewing voluminous documents and to avoid the need to file
documents containing confidential information under seal. Counsel for SPARTA will promptly
submit the complete version of any document upon request of the Court.


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